

People v Campbell (2023 NY Slip Op 06717)





People v Campbell


2023 NY Slip Op 06717


Decided on December 22, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2023

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Dec. 22, 2023.)


KA 23-00082.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTERRY L. CAMPBELL, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion to dismiss appeal granted. Matter remitted to Steuben County Court to vacate judgment of conviction and dismiss indictment (see People v Matteson , 75 NY2d 745, 747 [1989]).








